                        Case 5:18-cv-00934-D Document 2 Filed 09/25/18 Page 1 of 12
AO440(Rev.12/09) Summons in a Civil Action

                                  UNITED STATES DISTRICT COURT
                                                                for the
                                                     Western District of Oklahoma

(1) INSTITUTE FOR JUSTICE,            )
                                      )
                                      )
                                      )
                Plaintiff(s),         )
                                      )
v.                                    )                                   Case No. CIV-18-934-D
(1) JOHN HAWKINS; (2) KAREN LONG; (3) )
HOLLY EASTERLING; (4) CHARLIE LASTER; )
(5) CATHY STOCKER; (6) ASHLEY KEMP,   )
                                      )
                Defendant(s).         )


                                                     SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
Commissioner Holly Easterling
c/o Jan Preslar, Oklahoma Ethics Commission General Counsel
Oklahoma Ethics Commission, 2300 N. Lincoln Blvd., G-27
Oklahoma City, OK 73105
         A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in Fed.
R. Civ. P. 12(a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under
Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s
attorney, whose name and address are:
Adam C. Doverspike
GableGotwals
100 West Fifth Street, Suite 1100
Tulsa, OK 74103-4217
      If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.



                             8:27 am, Sep 25, 2018




Signed and sealed by the Clerk of the Court or Deputy Clerk.
                          Case 5:18-cv-00934-D Document 2 Filed 09/25/18 Page 2 of 12
$25HY26XPPRQVLQD&LYLO$FWLRQ3DJH

 &LYLO$FWLRQ1R

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ(date)                                          

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                    RQ(date)                         RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ(date)                                DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                      ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                    RQ(date)                         RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                            RU

           u 2WKHU(specify):
                                                                                                                                          


           0\IHHVDUH                            IRUWUDYHODQG                 IRUVHUYLFHVIRUDWRWDORI   0.00                


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                           Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
                        Case 5:18-cv-00934-D Document 2 Filed 09/25/18 Page 3 of 12
AO440(Rev.12/09) Summons in a Civil Action

                                  UNITED STATES DISTRICT COURT
                                                               for the
                                                    Western District of Oklahoma

(1) INSTITUTE FOR JUSTICE,            )
                                      )
                                      )
                                      )
                Plaintiff(s),         )
                                      )
v.                                    )                                  Case No. CIV-18-934-D
(1) JOHN HAWKINS; (2) KAREN LONG; (3) )
HOLLY EASTERLING; (4) CHARLIE LASTER; )
(5) CATHY STOCKER; (6) ASHLEY KEMP,   )
                                      )
                Defendant(s).         )


                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
John Hawkins, Chairman of Oklahoma Ethics Commission
c/o Jan Preslar, Oklahoma Ethics Commission General Counsel
Oklahoma Ethics Commission, 2300 N. Lincoln Blvd., G-27
Oklahoma City, OK 73105
         A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in Fed.
R. Civ. P. 12(a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under
Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s
attorney, whose name and address are:
Adam C. Doverspike
GableGotwals
100 West Fifth Street, Suite 1100
Tulsa, OK 74103-4217
      If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.



                            8:26 am, Sep 25, 2018




Signed and sealed by the Clerk of the Court or Deputy Clerk.
                          Case 5:18-cv-00934-D Document 2 Filed 09/25/18 Page 4 of 12
$25HY26XPPRQVLQD&LYLO$FWLRQ3DJH

 &LYLO$FWLRQ1R

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ(date)                                          

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                    RQ(date)                         RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ(date)                                DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                      ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                    RQ(date)                         RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                            RU

           u 2WKHU(specify):
                                                                                                                                          


           0\IHHVDUH                            IRUWUDYHODQG                 IRUVHUYLFHVIRUDWRWDORI   0.00                


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                           Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
                        Case 5:18-cv-00934-D Document 2 Filed 09/25/18 Page 5 of 12
AO440(Rev.12/09) Summons in a Civil Action

                                  UNITED STATES DISTRICT COURT
                                                                for the
                                                     Western District of Oklahoma

(1) INSTITUTE FOR JUSTICE,            )
                                      )
                                      )
                                      )
                Plaintiff(s),         )
                                      )
v.                                    )                                   Case No. CIV-18-934-D
(1) JOHN HAWKINS; (2) KAREN LONG; (3) )
HOLLY EASTERLING; (4) CHARLIE LASTER; )
(5) CATHY STOCKER; (6) ASHLEY KEMP,   )
                                      )
                Defendant(s).         )


                                                     SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
Ashley Kemp, Executive Director of Oklahoma Ethics Commission
c/o Jan Preslar, Oklahoma Ethics Commission General Counsel
Oklahoma Ethics Commission, 2300 N. Lincoln Blvd., G-27
Oklahoma City, OK 73105
         A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in Fed.
R. Civ. P. 12(a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under
Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s
attorney, whose name and address are:
Adam C. Doverspike
GableGotwals
100 West Fifth Street, Suite 1100
Tulsa, OK 74103-4217
      If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.



                             8:27 am, Sep 25, 2018




Signed and sealed by the Clerk of the Court or Deputy Clerk.
                          Case 5:18-cv-00934-D Document 2 Filed 09/25/18 Page 6 of 12
$25HY26XPPRQVLQD&LYLO$FWLRQ3DJH

 &LYLO$FWLRQ1R

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ(date)                                          

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                    RQ(date)                         RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ(date)                                DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                      ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                    RQ(date)                         RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                            RU

           u 2WKHU(specify):
                                                                                                                                          


           0\IHHVDUH                            IRUWUDYHODQG                 IRUVHUYLFHVIRUDWRWDORI   0.00                


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                           Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
                        Case 5:18-cv-00934-D Document 2 Filed 09/25/18 Page 7 of 12
AO440(Rev.12/09) Summons in a Civil Action

                                  UNITED STATES DISTRICT COURT
                                                                 for the
                                                  Western District of Oklahoma

(1) INSTITUTE FOR JUSTICE,            )
                                      )
                                      )
                                      )
                Plaintiff(s),         )
                                      )
v.                                    )                                    Case No. CIV-18-934-D
(1) JOHN HAWKINS; (2) KAREN LONG; (3) )
HOLLY EASTERLING; (4) CHARLIE LASTER; )
(5) CATHY STOCKER; (6) ASHLEY KEMP,   )
                                      )
                Defendant(s).         )


                                                       SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
Commissioner Charlie Laster
c/o Jan Preslar, Oklahoma Ethics Commission General Counsel
Oklahoma Ethics Commission, 2300 N. Lincoln Blvd., G-27
Oklahoma City, OK 73105
         A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in Fed.
R. Civ. P. 12(a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under
Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s
attorney, whose name and address are:
Adam C. Doverspike
GableGotwals
100 West Fifth Street, Suite 1100
Tulsa, OK 74103-4217
      If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.


                               8:28 am, Sep 25, 2018




Signed and sealed by the Clerk of the Court or Deputy Clerk.
                          Case 5:18-cv-00934-D Document 2 Filed 09/25/18 Page 8 of 12
$25HY26XPPRQVLQD&LYLO$FWLRQ3DJH

 &LYLO$FWLRQ1R

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ(date)                                          

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                    RQ(date)                         RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ(date)                                DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                      ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                    RQ(date)                         RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                            RU

           u 2WKHU(specify):
                                                                                                                                          


           0\IHHVDUH                            IRUWUDYHODQG                 IRUVHUYLFHVIRUDWRWDORI   0.00                


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                           Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
                        Case 5:18-cv-00934-D Document 2 Filed 09/25/18 Page 9 of 12
AO440(Rev.12/09) Summons in a Civil Action

                                  UNITED STATES DISTRICT COURT
                                                                for the
                                                     Western District of Oklahoma

(1) INSTITUTE FOR JUSTICE,            )
                                      )
                                      )
                                      )
                Plaintiff(s),         )
                                      )
v.                                    )                                   Case No.   CIV-18-934-D
(1) JOHN HAWKINS; (2) KAREN LONG; (3) )
HOLLY EASTERLING; (4) CHARLIE LASTER; )
(5) CATHY STOCKER; (6) ASHLEY KEMP,   )
                                      )
                Defendant(s).         )


                                                     SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
Karen Long, Vice-Chairman of Oklahoma Ethics Commission
c/o Jan Preslar, Oklahoma Ethics Commission General Counsel
Oklahoma Ethics Commission, 2300 N. Lincoln Blvd., G-27
Oklahoma City, OK 73105
         A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in Fed.
R. Civ. P. 12(a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under
Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s
attorney, whose name and address are:
Adam C. Doverspike
GableGotwals
100 West Fifth Street, Suite 1100
Tulsa, OK 74103-4217
      If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.


                             8:37 am, Sep 25, 2018




Signed and sealed by the Clerk of the Court or Deputy Clerk.
                         Case 5:18-cv-00934-D Document 2 Filed 09/25/18 Page 10 of 12
$25HY26XPPRQVLQD&LYLO$FWLRQ3DJH

 &LYLO$FWLRQ1R

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ(date)                                          

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                    RQ(date)                         RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ(date)                                DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                      ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                    RQ(date)                         RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                            RU

           u 2WKHU(specify):
                                                                                                                                          


           0\IHHVDUH                            IRUWUDYHODQG                 IRUVHUYLFHVIRUDWRWDORI   0.00                


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                           Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
                       Case 5:18-cv-00934-D Document 2 Filed 09/25/18 Page 11 of 12
AO440(Rev.12/09) Summons in a Civil Action

                                  UNITED STATES DISTRICT COURT
                                                               for the
                                                    Western District of Oklahoma

(1) INSTITUTE FOR JUSTICE,            )
                                      )
                                      )
                                      )
                Plaintiff(s),         )
                                      )
v.                                    )                                  Case No. CIV-18-934-D
(1) JOHN HAWKINS; (2) KAREN LONG; (3) )
HOLLY EASTERLING; (4) CHARLIE LASTER; )
(5) CATHY STOCKER; (6) ASHLEY KEMP,   )
                                      )
                Defendant(s).         )


                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
Commissioner Cathy Stocker
c/o Jan Preslar, Oklahoma Ethics Commission General Counsel
Oklahoma Ethics Commission, 2300 N. Lincoln Blvd., G-27
Oklahoma City, OK 73105
         A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in Fed.
R. Civ. P. 12(a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under
Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s
attorney, whose name and address are:
Adam C. Doverspike
GableGotwals
100 West Fifth Street, Suite 1100
Tulsa, OK 74103-4217
      If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.



                            8:38 am, Sep 25, 2018




Signed and sealed by the Clerk of the Court or Deputy Clerk.
                         Case 5:18-cv-00934-D Document 2 Filed 09/25/18 Page 12 of 12
$25HY26XPPRQVLQD&LYLO$FWLRQ3DJH

 &LYLO$FWLRQ1R

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ(date)                                          

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                    RQ(date)                         RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ(date)                                DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                      ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                    RQ(date)                         RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                            RU

           u 2WKHU(specify):
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           0\IHHVDUH                            IRUWUDYHODQG                 IRUVHUYLFHVIRUDWRWDORI   0.00                


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                           Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
